Case 20-70024-jwc       Doc 15     Filed 01/20/21 Entered 01/20/21 13:34:34            Desc Main
                                  Document      Page 1 of 11



                   UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO. 20-70024-jwc
                                                   *
 Anita Nicole Gross                                * CHAPTER 7
 AKA Anita N Gross; AKA Anita Gross                *
                                                   *
       Debtor.                                     *


                                 CERTIFICATE OF SERVICE
       I certify that I served Debtor with a true and correct copy of the within and foregoing
“Amendment to Chapter 7 Schedules A, B, C, Summary of Schedules and Statistical Summary”
by depositing the same in the United States Mail with adequate postage affixed to ensure delivery
and addressed as follows:
Anita Nicole Gross
106 Chase Ridge Dr.
Riverdale GA 30296

S. Gregory Hays, Chapter 7 Trustee
2964 Peachtree Road
Suite 555
Atlanta, GA 30305-2153

                                             DATE: 1/20/2021
                                             /s/
                                             Camio Robinson, GA Bar No. 551843
                                             Attorney for Debtors
Clark & Washington, PC
3300 Northeast Expressway
Building 3
Atlanta GA 30341
Phone: 404-522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
              Case 20-70024-jwc                     Doc 15             Filed 01/20/21 Entered 01/20/21 13:34:34                                      Desc Main
                                                                      Document      Page 2 of 11
 Fill in this information to identify your case and this filing:

 Debtor 1                 Anita Nicole Gross
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           20-70024-jwc                                                                                                                        Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Kia                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      Soul                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2017                                     Debtor 2 only                                                Current value of the     Current value of the
           Approximate mileage:                 93000           Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
           Other information:                                   At least one of the debtors and another

                                                                Check if this is community property                                    $8,250.00                  $8,250.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $8,250.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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            Case 20-70024-jwc                       Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                     Desc Main
                                                                     Document      Page 3 of 11
 Debtor 1       Anita Nicole Gross                                                                  Case number (if known)     20-70024-jwc
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    2 BR, LR, DR, W/D                                                                                              $800.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    3 TVs, Laptop, Cellphone                                                                                     $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes.     Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothes/Shoes/Purses                                                                                         $2,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Real & Costume Jewlery                                                                                           $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes.     Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.     Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,850.00



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 2
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              Case 20-70024-jwc                                 Doc 15               Filed 01/20/21 Entered 01/20/21 13:34:34                                 Desc Main
                                                                                    Document      Page 4 of 11
 Debtor 1          Anita Nicole Gross                                                                                              Case number (if known)   20-70024-jwc

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured
                                                                                                                                                              claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                      Cash                                     $15.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               Chase Bank                                                                  $250.00



                                              17.2.       Savings                                Chase Bank                                                                  $510.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
Official Form 106A/B                                                                      Schedule A/B: Property                                                                 page 3
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            Case 20-70024-jwc                       Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                      Desc Main
                                                                     Document      Page 5 of 11
 Debtor 1       Anita Nicole Gross                                                                       Case number (if known)   20-70024-jwc

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                         Surrender or refund
                                                                                                                                     value:

                                         Term Life - Primamerica                                Mother                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

                                                      Potential PI Claim- Kanner & Pintaluga                                                     $10,425.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.     Describe each claim.........

Official Form 106A/B                                                   Schedule A/B: Property                                                           page 4
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             Case 20-70024-jwc                             Doc 15              Filed 01/20/21 Entered 01/20/21 13:34:34                                              Desc Main
                                                                              Document      Page 6 of 11
 Debtor 1         Anita Nicole Gross                                                                                                    Case number (if known)   20-70024-jwc

35. Any financial assets you did not already list
     No
     Yes.       Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $11,200.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                            $8,250.00
 57. Part 3: Total personal and household items, line 15                                                       $3,850.00
 58. Part 4: Total financial assets, line 36                                                                  $11,200.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $23,300.00              Copy personal property total              $23,300.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $23,300.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case 20-70024-jwc                     Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                              Desc Main
                                                                     Document      Page 7 of 11
 Fill in this information to identify your case:

 Debtor 1                Anita Nicole Gross
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           20-70024-jwc
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2017 Kia Soul 93000 miles                                                                                                  O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                      $8,250.00                                        $0.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      2 BR, LR, DR, W/D                                                                                                          O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 6.1
                                                                          $800.00                                   $800.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      3 TVs, Laptop, Cellphone                                                                                                   O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                      $1,000.00                                   $1,000.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothes/Shoes/Purses                                                                                                       O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                      $2,000.00                                   $2,000.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Real & Costume Jewlery                                                                                                     O.C.G.A. § 44-13-100(a)(5)
      Line from Schedule A/B: 12.1
                                                                           $50.00                                    $50.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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            Case 20-70024-jwc                       Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                               Desc Main
                                                                     Document      Page 8 of 11
 Debtor 1    Anita Nicole Gross                                                                          Case number (if known)     20-70024-jwc
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash                                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                          $15.00                                   $15.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase Bank                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                         $250.00                                  $250.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Chase Bank                                                                                                          O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                         $510.00                                  $510.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Term Life - Primamerica                                                                                                      O.C.G.A. § 44-13-100(a)(6)
     Beneficiary: Mother
                                                                            $0.00                                    $0.00
     Line from Schedule A/B: 31.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

     Potential PI Claim- Kanner &                                                                                                 O.C.G.A. § 44-13-100(a)(6)
     Pintaluga
                                                                     $10,425.00                               $10,425.00
     Line from Schedule A/B: 33.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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              Case 20-70024-jwc                          Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                                                   Desc Main
                                                                          Document      Page 9 of 11
 Fill in this information to identify your case:

 Debtor 1                   Anita Nicole Gross
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           20-70024-jwc
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              23,300.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              23,300.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $              20,400.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              36,341.00


                                                                                                                                     Your total liabilities $                    56,741.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                3,057.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,057.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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            Case 20-70024-jwc                       Doc 15            Filed 01/20/21 Entered 01/20/21 13:34:34                      Desc Main
                                                                     Document      Page 10 of 11
 Debtor 1      Anita Nicole Gross                                                         Case number (if known) 20-70024-jwc

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            3,086.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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Case 20-70024-jwc        Doc 15    Filed 01/20/21 Entered 01/20/21 13:34:34                 Desc Main
                                  Document      Page 11 of 11



                     UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                              * CASE NO. 20-70024-jwc
                                                     *
 Anita Nicole Gross                                  * CHAPTER 7
 AKA Anita N Gross; AKA Anita Gross                  *
                                                     *
       Debtor.                                       *



             UNSWORN DECLARATION UNDER PENALTY OF PERJURY


       I, Anita Nicole Gross, hereby certify under penalty of perjury that I have direct knowledge
of the information in the attached pleading and it is true and correct to my best belief.



       Signed: s/                                                     Date: 10/27/2020
               Anita Nicole Gross
